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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Charles F. Gilbert, et al.
                                  Plaintiff,
v.                                                   Case No.: 1:19−cv−01686
                                                     Honorable John Robert Blakey
BMO Harris, N.A., et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 11, 2019:


       MINUTE entry before the Honorable John Robert Blakey: Defendants' unopposed
motions for extension of time [24] and [32] are granted. Defendant's answers or other
responsive pleadings shall be filed on or before 4/30/2019. Motion hearings set for
4/16/2019 and 4/18/2019, are stricken. All other deadlines and hearings to stand. Mailed
notice(gel, )




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